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UNITED STATES DISTRIC'I` COURT
MIDDLE DIS'I`RICT OF FLORIDA

MEGAN BARRIOS VAZQUEZ,

 

Plaintiff,

vs. Case No.:

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MEDICREDIT, [NC. and
NPAS SOLUTIONS, LLC,

Defendants.

COMPLAINT
l. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.
§1692 et seq. ("FDCPA") and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55
et seq. ("FCCPA"). Plaintiff also alleges violation of the 'I`elephone Consumer Protection Act, 47
U.S.C. § 227 et seq. ("TCPA") against the Defendant Medicredit, Inc. and NPAS Solutions,
LLC (“NPAS”) Plaintiff alleges that the Defendant incessantly and unlawfully called the
Plaintiff‘s cellular phone using an automatic telephone dialing system or auto-dialer and a pre-
recorded or artificial voice, without Plaintiff s consent. Defendant made these calls in an attempt
to collect an alleged debt belonging to the Plaintiff.
MT_IQ_N
2. Jurisdiction of this Court arises under 28 U.S.C. § 1331, §1337, and §1367,
and pursuant to 15 U.S.C. § 1692 et seq. ("FDCPA") and the Florida Consumer Collection
Practices Act, Fla. Stat. §559.55 et seq. ("FCCPA"). Under 28 U.S.C. 1367(a), this Court has
supplemental jurisdiction over Plaintift’s state FCCPA claim in that it is so related to the

federal TCPA and FDCPA claims that they form part of the same case or controversy under
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Article Ill of the United States Constitution. Additionally, federal courts have jurisdiction over
suits arising under 'l`CPA. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

3. This action arises out of Defendant's violations of the FDCPA and FCCPA, in
its illegal effort to collect a consumer debt from Plaintif`f. This action also arises out of
Defendant's violations of TCPA, which prohibits any person "to make any call (other than
for emergency purposes or made with the prior express consent of the called party) using
any automatic telephone dialing system or any artificial or prerecorded voice --(iii) to any
telephone number assigned to a paging service, cellular telephone service, specialized mobile
radio service, or other radio common carrier service, or any service for which the called party
is charged for the call." 47 U.S.C. §227(b)(l)(A).

4. Venue is proper in this District because the acts and transactions occurred here,
Plaintiff resides here, Defendant transacts business here, and Defendant places calls into this
District.

PARTIES
5. Plaintiff, Megan Barrios Vazquez, is a natural person who resides in the City
of Orlando, Orange County, State of Florida, and is a "consumer" as that term is defined by
15 U.S.C. § 1692a(3). Plaintiff is the cellular subscriber and has dominion over the cellular

telephone that Defendant has been calling.

FACTUAL ALLEGATIONS
l. Fac!s Pertaining 10 Defendant Medicredit
6. Def`endant MEDICREDIT, INC. (hereinafter "Medicredit"), a collection agency

operating from an address of 3620 I-70 Dr. SE, Suite C, Columbia, MO 65201, is a "debt

collector" as that term is defined by 15 U.S.C. § 1692a(6), and is incorporated under the laws of

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the State of Missouri as a corporation

7. Medicredit regularly uses the mail and telephone in a business, the principal
purpose of which is the collection of debts. Medicredit regularly collects or attempts to collect
debts for other parties.

8. Defendant Medicredit is a debt collector that uses, among other things,
automated telephone dialing system to engage in debt collection practices.

9. Defendant Medicredit is "debt collector" as defined in the FDCPA and
FCCPA, under 15 U.S.C. §1692a(6) and Florida Statute §559.55(6).

10. Defendant Medicredit was acting as debt collector with respect to the collection
of PlaintiH" s alleged debt.

11. Plaintiff allegedly incurred a financial obligation that was primarily for personal,
family, or household purposes and is therefore a "debt" as that term is defined by 15 U.S.C. §
l692a(5) and Florida Statute §559.55(1).

12. Sometime thereaher, the debt was consigned, placed or otherwise transferred to
Defendants for collection from this Plaintiff.

13. Defendant Medicredit sought to collect from Plaintiff alleged debts arising
from transactions incurred for personal, family or household purposes.

14. Within 5 days of its initial communication with Plaintiff, Defendant Medicredit
failed to send any letter to Plaintiff notifying her of her rights and privileges under the law.

15. Defendant Medicredit has failed to provide any documentation detailing the
purchases, payments, interest, and late charges, if any, thereby making it impossible for
Plaintiff to determine whether or not she owes the alleged debt and whether the alleged debt was
correctly calculated.

16. The Defendant did not provide debtor with written notice of assignment from

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creditor, within 30 days after the assignment

17. This lawsuit arises from telephone collection efforts of Defendant over the last
four years. Most courts have held that TCPA claims are governed by the four-year federal statute
of limitations Benedia v. Super Fair Cellular, !nc., 2007 U.S. Dist. LEXIS 71911 (N.D. lll.
2007); Stern v. Bluestone, 850 N.Y.S. 2d 90, 2008 N.Y. Slip Op. 00611 (holding that the 'I`CPA
has a four year statute of limitations pursuant to 28 U.S.C. §1658).

18. Defendant Medicredit attempted to collect alleged consumer debts from the
Plaintiff by unlawiiilly calling Plaintiffs cellular telephone numerous times in violation of the

TCPA.

Colleclion Calls from Medicredit
19. In or about April, May, and June 2015, Defendant Medicredit contacted Plaintiff
by telephone in an effort to collect this debt, which was a "communication" in anattempt to
collect a debt as that term is defined by 15 U.S.C. § 1692a(2) and Florida Statute §
559.55(5).

20. During these communications, Defendant Medicredit called Plaintiffs cellular
telephone using an automated telephone dialing system. Defendant Medicredit left the following
voicemail messages on Plaintiffs cellular voicemail system playing an artificial or pre-recorded
voice. After delivery of the message, the caller immediately disconnected:

(800)823-2318 04/11/2015 11:26am
"I~lello, we are calling from Medicredit on behalf of Westside Regional Medical

Center. Please return our call at (800) 823-2318 Monday through Friday during
normal business hours. 'I`hank you." (Female Voice)

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(800) 823-2318 04/14/2015 6:51 Dm
"Hello, we are calling from Medicredit on behalf of Westside Regional Medical

Center. Please return our call at (800) 823-2318 Monday through Friday during
normal business hours. Thank you." (Female Voice)

(800) 823-2318 04/29/2015 2:55 Dm

"Hello” (Female Voice)

§800)823-2318 05/12/2015 1:21 gm
"l-lello, we are calling from Medicredit on behalf of Westside Regional Medical

Center. Please return our call at (800) 823-2318 Monday through Friday during
normal business hours. Thank you." (Female Voice)

(800)823-2318 06/01/2015 7:51 nm
"I-Iello, we are calling from Medicredit on behalf of Westside Regional Medical
Center. Please return our call at (800) 823-2318 Monday through Friday during
normal business hours. Thank you." (Female Voice)

(800) 823-2318 06/10/2015 4:47 nm
"Hello, we are calling from Medicredit on behalf of Westside Regional Medical

Center. Please return our call at (800) 823-2318 Monday through Friday during
normal business hours. Thank you." (Female Voice)

(800) 823-2318 06/17/2015 1255 Dm
"Hello, we are calling from Medicredit on behalf of Westside Regional Medical

Center. Please return our call at (800) 823-2318 Monday through Friday during
normal business hours. Thank you." (Female Voice)

21. On other occasions, upon answering these calls, Plaintiff was greeted with a
machine-generated voice that began reading a script, consistent with an automated telephone
dialing system using an artificial or pre-recorded voice.

22. Defendant Medicredit left these voicemail messages with an artificial or pre-
recorded voice asking for the Plaintiff. Plaintiff never provided consent to either Defendant to
receive phone calls to her cellular phone.

23. 'I`he Defendant Medicredit’s methods of contacting Plaintiff is indicative of its
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ability to dial numbers without any human intervention in the calling process, which the FCC has
opined is the hallmark of automatic telephone dialing system. See In the Matter of Rules &
Regulations Implementing the Telephone Consumer Protection Act of 2008, CG Docket No. 02-
278, FCC 07-232 (114/08); !n the Matter of Rules & Regulations Implementing the Telephone
Consumer Protection Act of 1991, 2003 WL 21517583, 18 F.C.C.R. 14014 (July 3, 2003).

24. Medicredit’s calls to Plaintiff’s cellular telephone were all initiated using

an automatic telephone dialing system, which contained an artificial voice and/or played a

prerecorded message.

25. None of Medicredit’s telephone calls to Plaintif`f were for "emergency
purposes" as specified in 47 U.S.C. § 227(b)(l)(A).

26. The Defendant Medicredit either willfully or knowingly violated the TCPA.

II. F acts Pertaining to Defendant NPAS

27. Defendant NPAS SOLUTIONS, LLC (hereinatier “NPAS”), a collection agency
operating from an address of One Park Plaza, Nashville, TN 37203, is a “debt collector" as that
term is defined by 15 U.S.C. § l692a(6), and is incorporated under the laws of the State of
Tennessee as a limited liability company.

28. NPAS regularly uses the mail and telephone in a business, the principal purpose of
which is the collection of debts. NPAS regularly collect or attempt to collect debts for other
parties.

29. Defendant NPAS is a debt collector that uses, among other things, automated
telephone dialing system to engage in debt collection practices.

30. Defendant NPAS is "debt collector" as defined in the FDCPA and FCCPA,
under 15 U.S.C. §1692a(6) and Florida Statute §559.55(6).

31. Defendant NPAS was acting as debt collector with respect to the collection of
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Plaintiff s alleged debt. Plaintiff allegedly incurred a financial obligation that was primarily for
personal, family, or household purposes and is therefore a "debt" as that term is defined by 15
U.S.C. § 1692a(5) and I~`lorida Statute §559.55(1).

32. Sometime thereatier, the debt was consigned, placed or otherwise transferred to
Defendants for collection from this Plaintiff.

33. Defendant NPAS sought to collect from Plaintiff alleged debts arising from
transactions incurred for personal, family or household purposes.

34. Within 5 days of its initial communication with Plaintiff`, Defendant NPAS failed
to send any letter to Plaintiff notifying her of her rights and privileges under the law.

35. Defendant NPAS has failed to provide any documentation detailing the
purchases, payments, interest, and late charges, if any, thereby making it impossible for
Plaintiff to determine whether or not she owes the alleged debt and whether the alleged debt was
correctly calculated.

36. The Defendant did not provide debtor with written notice of assignment from
creditor, within 30 days alter the assignment

37. This lawsuit arises from telephone collection efforts of Defendant over the last
four years. Most courts have held that TCPA claims are governed by the four-year federal statute
of limitations. Benedia v. Super Fair Cellular, Inc., 2007 U.S. Dist. LEXIS 71911 (N.D. Ill.
2007); Stern v. Bluestone, 850 N.Y.S. 2d 90, 2008 N.Y. Slip Op. 00611 (holding that the TCPA
has a four year statute of limitations pursuant to 28 U.S.C. §1658).

38. Defendant NPAS attempted to collect alleged consumer debts from the Plaintiff

by unlawfully calling Plaintiff s cellular telephone numerous times in violation of the TCPA.

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Collection Calls from NPAS

39. In or about April, May, and June 2015, collectors from Defendant NPAS contacted
Plaintiff by telephone in an effort to collect this debt, which was a "communication" in an
attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2) and Florida Statute
§ 559.55(5).

40. Defendant NPAS left the following voicemail messages on Plaintiff`s cellular
voicemail system playing an artificial or pre-recorded voice. After delivery of the message, the
caller immediately disconnected:

(866)258-1104 04/11/2015 12:45 nm
"l-Iello, we are calling from NPAS Solutions on behalf of Westside Regional

Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866)258-1104 04/22/2015 5:26 Dm

"l-lello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866) 258-1104 05/02/2015 11:26 am

"I-Iello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866) 258-1104 05/07/2015 5:04 Dm

l'Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866)258-1104 05/11/2015 8:42 am

"Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

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(866) 258-1104 05/27/2015 6:17 Dm

"Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866) 258-1104 06/01/2015 9:49 am

"Hello, we are calling from NPAS Solutions orr behalf of Westside Regional
Medical Center. Please return our ca11 at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866) 258-1104 06/04/2015 8:17 am

"Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866) 258-1104 06/08/2015 9:53 am

"Hello, We are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

1866)258-1104 06/11/2015 8:19 am

"Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(8661258-1104 06/18/2015 3:47 gm

"Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(866)258-1104 06/24/2015 9:32am ~

"Hello, we are calling from NPAS Solutions on behalf of Westside Regional
Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

(8661258-1104 06/29/2015 8:45 pm
"Hello, we are calling from NPAS Solutions on behalf of Westside Regional

Medical Center. Please return our call at (866) 258-1104 Monday through Friday
during normal business hours. Thank you." (Female Voice)

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41. On other occasions, upon answering these calls, Plaintiff Was greeted With a
machine-generated voice that began reading a script, consistent with an automated telephone
dialing system using an artificial orpre-recorded voice.

42. Defendant NPAS left these voicemail messages with an artificial or pre-recorded
voice asking for the Plaintiff. Plaintiff never provided consent to either Defendant to receive
phone calls to her cellular phone.

43. The NPAS’s methods of contacting Plaintiff is indicative of its ability to dial
numbers without any human intervention in the calling process, which the FCC has opined is the
hallmark of automatic telephone dialing system, See In the Matter of Rules & Regulations
Implementz'ng the Telephone Consumer Protection Act of 2008, CG Docket No. 02-278, FCC 07-
232 (114/08); In the Matter of Rules &Regulations Implementing the Telephone Consumer
Protection Act 0f1991, 2003 WL 21517583, 18 F.C.C.R. 14014(Ju1y 3, 2003).

44. NPAS’s calls to Plaintiff’s cellular telephone were all initiated using
an automatic telephone dialing system, Which contained an artificial voice and/or played a
prerecorded message.

45. None of the NPAS’s telephone calls to Plaintiff were for "emergency
purposes" as specified in 47 U.S.C. §227(b)(l)(A).

46. Defendant NPAS either willfully or knowingly violated the TCPA.

MMAU
47. Defendants and its collection employees engaged in the above-described
collection communications by contacting Plaintiff s cellular telephone, in violation of
numerous and multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §
1692(d)6, and 1692e(ll).

48. During its collection communications, Defendants and the individual debt
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collectors employed by Defendants Medicredit and NPAS failed to provide Plaintiff with the
notice required by 15 U.S.C. § l692(d) 6, and 1692e(l l), amongst others.

49. Defendants’ conduct, as detailed above, of harassing Plaintiff in an effort to
collect this debt, constitutes violations of numerous and multiple provisions of the FDCPA, as
stated herein. Defendants willfully or knowingly violated FDCPA and FCCPA.

TRIAL BY JURY
50. Plaintiff is entitled to and hereby respectfully demands a trial byjury on all

issues so triable. U.S. Const. amend. 7. Fed.R.Civ.P.38.

CAUSES OF ACTION

AS AND FOR A FIRST CAUSE OF ACTION AGAINS'I`
MEDICREDIT

QQU_N_T_l

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES AC'I`
15U.S.C. § 1692 et seg.

51. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

52. 'I`he foregoing acts and omissions of the Defendant and its agents constitute
numerous and multiple violations of the FDCPA including, but not limited to, each and every
one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

53. As a result of the Defendant’s violations of the FDCPA, Plaintiff is entitled to
statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § l692k(a)(2)(A); and,
reasonable attomeys' fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

herein.

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COUNT 2

FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR
15 U.S.C. 1692e

54. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.
55. Defendant failed to disclose in the telephone messages that it was a debt collector,
in violation of 15 U.S.C. 1692e(1 1).
COUNT 3

FAlLURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY
15 U.S.C. 1692d

56. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

57. Defendant placed telephone calls to Plaintiff without making meaningful
disclosures of its identity when it failed to disclose that it was a debt collector, and the purpose of
Defendant’s communications in the telephone messages in violation of 15 U.S.C. 1692d(6).

COUNT4

HARRASMEN'I` ORABUSE
15U.S.C. § l692§d1

58. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

59. Defendant engaged in conduct with the natural consequence of which was to
harass, oppress, or abuse Defendant, when Defendant incessantly called the Plaintiff`s cellular
telephone in an attempt to collect a debt, sometimes on a daily basis.

60. By the foregoing acts, Defendant violated numerous provisions of FDCPA,

including but not limited to 15 U.S.C. 1692(d), namely § 1692d(2) and § 1692d(6).

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COUNT 5

VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 USC§ l692g

61. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

62. Defendant violated § l692g of the FDCPA by failing to send written notificatiom
within five (5) days after its initial communication with Plaintifi`, advising Plaintiff of her rights to
dispute the debt or request verification of the debt,

63. Defendant acted in an otherwise deceptive, unfair, and unconscionable manner by
failing to comply with § 1692g of the FDCPA.

COUNT 6

VIOLATION OF THE FLORIDA CONSUMER COLLECTION PRACTICES
AC'I` FLORIDA STATUTE §559.55 et seq. ("FCCPA")

64. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

65. The foregoing acts and omissions of the Defendant and its agents constitute
violation of the FCCPA including Florida Statute §559.715.

66. As a result of the Defendant's violations of the FCCPA, Plaintiff is entitled to
statutory damages in an amount up to $l,000.00 pursuant to Florida Statute § 559.77(2), and
reasonable attorney's fees and costs pursuant to §559.77(2), from the Defendant herein.

COUNT7

VIOLATION OF 553.72(7) OF TI-IE FLORIDA
CONSUMER COLLECTION PRACTICES ACT

67. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

68. In an effort to collect the debt, Defendant willfully communicated with the
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Plaintiff with such frequency as can be reasonably expected to harass the Debtor, in violation
of FCCPA, Florida Statute §559.72(7).
W
VIOLATION OF §559.715 OF THE
FLORIDA CONSUMER COLLECTION
PRACTICES ACT
69. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.
70. The Defendant did not provide written notice of the assignment of the right to
bill and collect the debt, within 30 days after the assignment
71. Florida Statute § 559.715 does not prohibit the assignment, by a creditor, of
the right to bill and collect a consumer debt, However, the assignee must give the debtor

written notice of such assignment within 30 days after the assignment The Defendant did

not provide Plaintiff With said notice.

COUNT 9
VIOLATIONS OF THE 'I`ELEPHONE CONSUMER PROTEC'I`ION

ACT
47 U.S.C. § 227 et seq.

72. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

73. Defendant Medicredit violated 47 U.S.C.§227(b)(l)(A)(iii) of the Telephone
Consumer Protection Act by making telephone calls to Plaintiff s cellular telephone, which
were initiated by an automatic telephone dialing or made using an artificial or prerecorded
voice, and not legally permissible under any provision of the aforementioned statute. Plaintiff

did not provide any consent to Defendant to contact her on her cellular phone. In addition,

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Defendant's telephone calls to Plaintiff were not for "emergency purposes" as specified in 47
U.S.C. §227(b)(l)(A)

74. The subject calls were not legally permitted under any provision to the
aforementioned statute.

75. In sum, the Defendant Medicredit made telephone calls to Plaintiff's cellular
phone, which were either initiated by an automatic telephone dialing system and/or contained a
pre-recorded message and were made without the prior express consent of Plaintiff.

76. Defendant Medicredit, through its agents, representatives, and/or employees acting
within the scope of their authority, willfully and intentionally violated the TCPA, 47

U.s.C. §227(b)(l)(A)(iii).

AS AND FOR A FIRST CAUSE OF ACTION AGAINST NPAS-
MI_I

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15U.S.C. § 1692 et seg.

77. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

78. The foregoing acts and omissions of the Defendant and its agents constitute
numerous and multiple violations of the FDCPA including, but not limited to, each and every
one of the above-cited provisions of the FDCPA, 15U.S.C. § 1692 et seq.

79. As a result of the Defendant’s violations of the FDCPA, Plaintiff is entitled to
statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
reasonable attomeys' fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

herein.

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COUNT 2

FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR
15 U.S.C. § 1692e

80. The Plaintiff repeats and re-al|eges each and every allegation set forth
above as if reasserted and re-alleged herein.
81. Defendant failed to disclose in the telephone messages that it was a debt collector,
in violation of 15 U.S.C. 1692e(1 l).
COUNT 3

FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY
15 U.S.C. l692d

82. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

83. Defendant placed telephone calls to Plaintiff without making meaningful
disclosures of its identity when it failed to disclose that it was a debt collector, and the purpose of

Defendant’s communications in the telephone messages in violation of 15 U.S.C. 1692d(6).

COUNT4

HARRASMENT ORABUSE
15U.S.C. § 1692(d)

84. 'I`he Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

85. Defendant NPAS engaged in conduct with the natural consequence of which was to
harass, oppress, or abuse Defendant, when Defendant incessantly called the Plaintiff's cellular
telephone in an attempt to collect a debt, sometimes on a daily basis.

86. By the foregoing acts, Defendant violated numerous provisions of FDCPA,

including but not limited to 15U.S.C. 1692(d), namely § 1692d(2) and § 1692d(6).

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COUNT 5

VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
l 5 USC § l692g

87. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

88. Defendant NPAS violated § l692g of the FDCPA by failing to send written
notification, within five (5) days after its initial communication with Plaintiff`, advising Plaintiff of
her rights to dispute the debt or request verification of the debt,

89. Defendant acted in an otherwise deceptive, unfair, and unconscionable manner by
failing to comply with § 1692g of the FDCPA.

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VlOLATION OF THE FLORIDA CONSUMER COLLECTION PRACTICES
ACT FLORIDA STATUTE §559.55 et seg. § "FCCPA")

90. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

91. 'l`he foregoing acts and omissions of the Defendant and its agents constitute
violation of the FCCPA including Florida Statute § 559.715.

92. As a result of the Defendant's violations of the FCCPA, Plaintiff is entitled to
statutory damages in an amount up to $l,000.00 pursuant to Florida Statute § 559.77(2), and
reasonable attomey's fees and costs pursuant to § 559.77(2), from the Defendant herein.

COUNT7

VIOLATION OF 553.72(710FTHE FLORIDA
CONSUMER COLLEC'I`ION PRACTICES ACT

93. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

94. In an effort to collect the debt, Defendant wilthlly communicated with the
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Plaintiff with such frequency as can be reasonably expected to harass the Debtor, in violation

of FCCPA, Florida statute §559.72(7).
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vroLArroN or §559.715 or rrrr~;
FLORIDA coNsUMER coLLEcrroN
PRACTICES ACT

95. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

96. The Defendant did not provide written notice of the assignment of the right to
bill and collect the debt, within 30 days after the assignment

97. Florida Statute § 559.715 does not prohibit the assignment, by a creditor, of
the right to bill and collect a consumer debt, However, the assignee must give the debtor
written notice of such assignment within 30 days after the assignment 'I'he Defendant did

not provide Plaintiff with said notice.

COUNT 9

VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION
ACT

47 U.S.C. § 227 et seq.

98. The Plaintiff repeats and re-alleges each and every allegation set forth
above as if reasserted and re-alleged herein.

99. Defendant violated 47 U.S.C.§227(b)(l)(A)(iii) of the Telephone Consumer
Protection Act by making telephone calls to Plaintiff"s cellular telephone, which were initiated
by an automatic telephone dialing or made using an artificial or prerecorded voice, and not
legally permissible under any provision of the aforementioned statute.

100. Plaintiff did not provide express consent to Defendant NPAS to contact her on

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her cellular phone. In addition, Defendant’s telephone calls to Plaintiff were not for “emergency
purposes” as specified in 47 U.S.C. §227(b)(l)(A)

101. The subject calls were not legally permitted under any provision to the
aforementioned statute.

102. In sum, the Defendant made telephone calls to Plaintiffs cellular phone, which
were either initiated by an automatic telephone dialing system and/or contained a pre-recorded
message and were made without the prior express consent of Plaintiff.

103. Defendant, through its agents, representatives, and/or employees acting within the
scope Of their authority, willfully and intentionally violated the TCPA, 47 U.S.C.

§227(b)(l)(A)(lii).

WHEREFORE, Plaintiff requests that this Honorable Court enter j udgment in favor of
Plaintiff and against Defendants Medicredit and NPAS for:
a) Damages;
b) Reasonable attorney’s fees and costs;
c) $500 in statutory damages for each violation of the TCPA over the last four years;
d) $1,500 in statutory damages for each knowing or willful violation of the TCPA over the
last four years;
e) a permanent injunction prohibiting Defendant from placing non-emergency calls to
Plaintiff s cellular telephone using either an automatic telephonic dialing system or an artificial
or prerecorded voice; and

f) such further relief as this Court deems just and proper.

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PRAYER FOR R.ELIEF

WHEREFOR.E, PlaintiH` prays that judgment be entered against the Defendant

Dated: June 30, 2015

Respectfully submitted,

/s Monica Amor

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Attomey for Plaintiff

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